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                 Exhibit 3
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           District District
                                                       __________   of Connecticut
                                                                             of __________
          Seawolf Tankers Inc. and Heidmar Inc.                               )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 20 MISC-00067
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                            Ridgebury Management LLC

                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            SEE SCHEDULE A


 Place: Holland & Knight LLP                                                            Date and Time:
           31 W. 52nd St. New York, NY 10019                                                                 09/14/2020 5:00 pm
           Tel: (212) 513-3200

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Seawolf Tankers Inc and Heidmar Inc.                                    , who issues or requests this subpoena, are:
James H. Power, Clayton J. Vignocchi, Holland & Knight LLP, 31 W. 52nd St. New York, NY 10019,
Tel: 212-513-3200, james.power@hklaw.com, clayton.vignocchi@hklaw.com
                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 20 MISC-00067

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          SCHEDULE A

                                         DEFINITIONS

1. The term “Ridgebury Group” refers to each and every affiliated company under the ownership
   of members of management and Riverstone Global Energy and Power Fund V (Cayman) L.P.

2. The term “document” is defined as set forth in Local Civil Rule 26(c)(2).

3. The term “identify” when used with respect to persons is identified as set forth in Local Civil
   Rule 26(c)(3).

4. The term “identify” when used with respect to documents is defined as set forth in Local Civil
   Rule 26(c)(4).

5. The terms “you” and “your” refer to the party identified on the cover of this subpoena, its
   counsel, and representatives.

                                   DOCUMENT REQUESTS


A. All documents concerning the sale and receipt of proceeds from the sale of the M/V
   RIDGEBURY PRIDE, M/V RIDGEBURY PIONEER, M/V RIDGEBURY PROGRESS,
   M/V RIDGEBURY PURPOSE, including MOA’s contract for sale, communications with
   brokers, board approvals, minutes, correspondence concerning the instructions for wire
   transfer of funds from purchaser, receipt, disposition of and distribution or dissipations of such
   sale proceeds within the Ridgebury Group or to investors, members or third parties.

B. All communications concerning or relating preparation for the sale to the M/V RIDGEBURY
   PRIDE, M/V RIDGEBURY PIONEER, M/V RIDGEBURY PROGRESS, and/or M/V
   RIDGEBURY PURPOSE from January 1, 2020 to present.

C. Ridgebury Group Organization Charts from January 1, 2018 to present.

D. All documents evidencing ownership of the M/V RIDGEBURY PRIDE, M/V RIDGEBURY
   PIONEER, M/V RIDGEBURY PROGRESS, M/V RIDGEBURY PURPOSE at any time,
   including but not limited to certificates of documentation, certificates of registry, certificates
   of ownership or other title documents.

E. Any ship mortgage, loan, financing, facility or credit agreement, promissory note, deed,
   guaranty, assignment, security agreement or other instrument to which you were a party,
   executed by you, or in which you were identified as a borrower or guarantor, encumbering or
   granting a security interest or lien, in, or otherwise evidencing the financing of the M/V
   RIDGEBURY PRIDE, M/V RIDGEBURY PIONEER, M/V RIDGEBURY PROGRESS,
   M/V RIDGEBURY PURPOSE in effect from January 1, 2018 to present, redacted to exclude
   anything you consider confidential commercial information. Please include in your response
   a description of the type of information that you redacted from the documents produced in
   response to this request (e.g. price or rate of interest).
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F. Any discharge of mortgage, first preferred mortgage, first preferred Marshall Islands mortgage
   or any other document reflecting the cancellation, release, or termination of any mortgage on
   the M/V RIDGEBURY PRIDE, M/V RIDGEBURY PIONEER, M/V RIDGEBURY
   PROGRESS, M/V RIDGEBURY PURPOSE.

G. Any crewing and/or manning agreement for the M/V RIDGEBURY PRIDE, M/V
   RIDGEBURY PIONEER, M/V RIDGEBURY PROGRESS, M/V RIDGEBURY PURPOSE
   in effect from January 1, 2018 to present.

H. Any operating and/or management agreement for the M/V RIDGEBURY PRIDE, M/V
   RIDGEBURY PIONEER, M/V RIDGEBURY PROGRESS, M/V RIDGEBURY PURPOSE
   in effect from January 1, 2018 to present.

I. Copy of original certificate of incorporation and the original articles of association of your
   company, and all amendments thereto through present.

J. The Incorporation Form of your company.

K. The original annual return of your company and the annual reports in effect for fiscal years
   from 2015 through present.

L. The tax returns for your company for the years 2018, 2019, and 2020.

M. All resolutions of the board of directors or the director of your company from January 1, 2018
   to present.

N. All records of elections by the shareholders of your company from January 1, 2018 to present.

O. Any general assignment to which you are a party concerning the M/V RIDGEBURY PRIDE,
   M/V RIDGEBURY PIONEER, M/V RIDGEBURY PROGRESS, and/or M/V RIDGEBURY
   PURPOSE, in whole or part.

P. Any facility agreement to which you are a party concerning the M/V RIDGEBURY PRIDE,
   M/V RIDGEBURY PIONEER, M/V RIDGEBURY PROGRESS, and/or M/V RIDGEBURY
   PURPOSE, in whole or part.

Q. Any certificate of registration of charge to which you are a party concerning the M/V
   RIDGEBURY PRIDE, M/V RIDGEBURY PIONEER, M/V RIDGEBURY PROGRESS,
   and/or M/V RIDGEBURY PURPOSE, in whole or part.

R. To the extent not previously produced in response to another request for production, please
   produce any and all loans, or financial agreements in which the M/V RIDGEBURY PRIDE,
   M/V RIDGEBURY PIONEER, M/V RIDGEBURY PROGRESS, and/or M/V RIDGEBURY
   PURPOSE were identified or otherwise used as collateral or security, in whole or in part, from
   January 1, 2018 to present.


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S. All insurance policies, protection and insurance coverages, notes or entries, hull or machinery
   coverages, notes or entries for the M/V RIDGEBURY PRIDE, M/V RIDGEBURY PIONEER,
   M/V RIDGEBURY PROGRESS, and/or M/V RIDGEBURY PURPOSE that were in effect
   from January 1, 2018 to present.

T. All documents from January 1, 2018 to present, relating to any loans, financing agreements,
   extensions of credit, or other financial transactions or exchange of services or funds between
   you and any affiliate of the Ridgebury Group.

U. Profit and loss statements of Ridgebury Kilo LLC, Ridgebury Mike LLC, Ridgebury Juliet
   LLC and Ridgebury Lima LLC from January 1, 2018.

V. Documents evidencing the relationship of RVL II PRINCIPALS HOLDINGS LLC,
   RIDGEBURY VL II LLC, RIDGEBURY VL II PRINCIPALS LLC, RIDGEBURY
   MANAGEMENT PRINCIPALS LLC, BURKE TANKERS LTD and RIDGEBURY
   TANKERS CORP to any or each of the following entities: Ridgebury Kilo LLC, Ridgebury
   Mike LLC, Ridgebury Juliet LLC and Ridgebury Lima LLC, RV4 Fleet Finance LLC,
   Ridgebury V4 Investments LLC, and RT Holdings LLC.

W. All documents relating to the identification of any entity that made insurance payments for the
   M/V RIDGEBURY PRIDE, M/V RIDGEBURY PIONEER, M/V RIDGEBURY
   PROGRESS, and/or M/V RIDGEBURY PURPOSE from January 1, 2018 to present including
   records evidencing such payment of premiums.

X. Monthly bank statement of accounts including records of deposits and withdrawals of
   Ridgebury Kilo LLC, Ridgebury Mike LLC, Ridgebury Juliet LLC and Ridgebury Lima LLC,
   RV4 Fleet Finance LLC, Ridgebury V4 Investments LLC, and RT Holdings LLC.

Y. Documents identifying entities of the Ridgebury Group, having an office, place of business
   registered address or hold themselves out to operate from the address located in Connecticut
   at 33 Riverside Avenue, 3rd Floor, Westport, CT 06880.




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